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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 JOHN KELLEY et al.,                          §
                                              §
        Plaintiffs,                           §
                                              §
 v.                                           §      Civil Action No. 4:20-cv-00283-O
                                              §
 XAVIER BECERRA et al.,                       §
                                              §
        Defendants.                           §

                                          ORDER

       Before the Court are Plaintiffs’ Motion for Summary Judgment (ECF No. 44), filed

November 15, 2021; and Defendants’ Cross-Motion for Summary Judgment (ECF No. 62), filed

January 28, 2022. The Court ORDERS a motions hearing to take place on Tuesday, July 26,

2022, at 9:00 AM in the Second Floor Courtroom of the Federal Courthouse in Fort Worth, Texas.

       SO ORDERED this 7th day of July, 2022.


                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
